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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

LAWRENCE SIMMONS,                        )
               Plaintiff,                )
                                         )      No. 1:21-cv-896
v.                                       )
                                         )      Honorable Paul L. Maloney
PAUL K. BEARDSLEE, et al.,               )
                 Defendants.             )
                                         )

                                     JUDGMENT

      This Court has resolved all pending claims in this lawsuit. As required by Rule 58 of

the Federal Rules of Civil Procedure, JUDGMENT ENTERS.

      THIS ACTION IS TERMINATED.

      IT IS SO ORDERED.

Date: December 3, 2021                                 /s/ Paul L. Maloney
                                                       Paul L. Maloney
                                                       United States District Judge
